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              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MONTANA


BNSF RAILWAY COMPANY, on                    Civil Action No.: CV-19-40-M-DLC
behalf of THE UNITED STATES OF
AMERICA                                          FILED UNDER SEAL
                                            pursuant to 31 U.S.C. § 3729 et seq.
                Plaintiff
                                          SECOND AMENDED COMPLAINT
vs.                                            AND JURY DEMAND

THE CENTER FOR ASBESTOS
RELATED DISEASE, INC.

                Defendant.




             FALSE CLAIMS ACT “QUI TAM” COMPLAINT

      The United States of America, by and through qui tam Relator, BNSF Railway

Company (“BNSF”), brings this action under 31 U.S.C. §§ 3729-33 (The “False

Claims Act”) to recover from The Center for Asbestos Related Disease, Inc.
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(“CARD”) for all damages, penalties, and other remedies available under the False

Claims Act on behalf of the United States and itself, and alleges based upon

information, knowledge and belief the following:

                                    PARTIES

      1.     Relator, BNSF is a Delaware corporation with a principal place of

business in Fort Worth, Texas. BNSF has direct and independent knowledge of all

publicly disclosed and other information upon which the allegations herein are

based. BNSF is the original source of the false claims allegations contained in this

Complaint. Before filing this Complaint, BNSF made a disclosure of all material

evidence and information in its possession to the government as required by 31

U.S.C. § 3730(b)(2).

      2.     CARD is a Montana non-profit corporation. Its registered agent for

service of process is Tracy McNew, 214 East 3rd Street, Libby, Montana 59923.

                         JURISDICTION AND VENUE

      3.     This Court maintains subject matter jurisdiction over this action

pursuant to 31 U.S.C. §3732(a) (False Claims Act) and 28 U.S.C. § 1331 (Federal

Question).

      4.     Venue is proper in this Court under 28 U.S.C. § 1391(b) and (c), and

31 U.S.C. § 3732(a) because CARD can be found and/or resides in the District of




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Montana, and CARD transacts business within this district and the facts forming the

basis of this Complaint occurred within this district.

      5.      The facts and circumstances of Defendant’s violations of the False

Claims Act have not been publicly disclosed in a criminal, civil or administrative

hearing; nor in any legislative, administrative, or inspector general report, hearing,

audit or investigation or in the news media.

      6.      Relator discovered the information contained herein in 2018 and 2019

through its involvement in consolidated asbestos litigation in the State of Montana

in the Asbestos Claims Court pertaining to individuals claiming asbestos exposure

while in Libby, Montana.

                 SCREENING FRAUD IN TORT LITIGATION

      7.      Much has been written about screening fraud perpetrated on courts and

others through misdiagnoses of lung diseases. See In re Silica Products Liability

Litigation, 398 F.Supp.2d 563 (S.D. Tex. 2005); ABA Commn. on Asbestos Litig.,

ABA Report to the House of Delegates, Recommendation and Resolution, at 8

(2003).

      8.      For example, in a 2004 study by researchers at Johns Hopkins

University, a panel of B Readers (physicians certified in the reading of chest x-rays)

were asked to re-read 492 x-rays that were obtained from plaintiffs’ lawyers. The

original readers, who had been hired by screening companies, claimed to find



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evidence of possible asbestos-related lung damage in 95.9% of the x-rays. In stark

contrast, the B Readers of the uninterested panel, who were unaware of the original

findings, only found 4.5% of the x-rays showed any signs of possible injury

attributable to asbestos. Joseph N. Gitlin, et al., Comparison of “B” Readers’

Interpretations of Chest Radiographs for Asbestos Related Changes, 11 Acad.

Radiology 843 (2004).

      9.     A significant diagnostic differential rate is the hallmark of screening

fraud cases nationally and was the subject of Congressional inquiry after the In Re

Silica case. See H.R. Jud. Comm., How Fraud and Abuse in the Asbestos

Compensation System Affects Victims, Jobs, the Economy and the Legal System,

112th Congress (September 9, 2011).

                           FACTUAL BACKGROUND

      10.    From the late 1920s to 1990, W.R. Grace & Co. (“Grace”) mined and

milled vermiculite ore in and around Libby, Montana. For many years, Grace’s

Libby mine was the world’s largest producer of vermiculite, a non-toxic mineral

useful for a variety of applications, including attic insulation, fireproofing products,

masonry fill, fertilizer, and potting soil. The raw ore extracted from Zonolite

Mountain contained vermiculite, asbestos and other minerals. The product left after

processing and milling was ostensibly a refined vermiculite concentrate, a product

Grace represented and marketed as safe. Residents of Libby, Montana have brought



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claims for years against W.R. Grace. Since Grace’s bankruptcy, thousands of

plaintiffs have turned their derivative claims towards the State of Montana,

International Paper, BNSF and others for Asbestos Related Disease allegedly caused

by second-hand exposure to Grace’s vermiculite mining and processing activities.

      11.   Defendant, CARD, was born, and evolved, in response to raised

awareness of asbestos exposure in the Libby, Montana area that surfaced in 1999.

In 2000, CARD was established as a department of St. John’s Lutheran Hospital to

provide screening, diagnosis, treatment and monitoring for those exposed to Libby

amphibole asbestos. In April 2003, CARD separated from St. John’s Lutheran

Hospital and became a stand-alone organization.

      12.   Since its inception, CARD and its medical providers have screened

thousands of patients for the presence of Asbestos Related Disease (“ARD”).

      13.   CARD states in its Patient Education literature that it, “provides

comprehensive asbestos health screening that is important for all people with a

history of asbestos exposure in Lincoln county.”

      14.   CARD further states that it provides: “Specialty Libby Amphibole

Pulmonary Health Care: Disease management and treatment services are available

at the CARD Clinic in Libby, Montana. This specialty care is valuable for the

approximately 7,000 patients followed by CARD and the new patients who present




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daily for screening assessment and information regarding the possible effects of their

asbestos exposure.”

      15.     Well over 1,000 of CARD’s patients have been involved in litigation in

Montana Courts based on claims that they have been diagnosed with an asbestos

related disease.

            Federal Grants and Federal Legislation that Support CARD

      16.     CARD is primarily funded by the receipt of federal grant monies

administered by the American Toxic Substances Disease Registry (“ATSDR”) and

the Centers for Disease Control (“CDC”).

      17.     Since 2011, CARD’s primary screening grant awards have totaled

approximately $2.4M annually: “PPHF-14-Libby Montana’s Public Health

Emergency: Asbestos Health Screening” (Grant # U61TS000179 from 2011-2015;

Grant # NU61TS000251 from 2016-2018 and Grant # NU61TS000295 in 2019).

      18.     From 2011 until the present, CARD has been awarded over $20M

dollars in federal funds through the primary screening grant alone.

      19.     The first four-year grant period ran from July 1, 2011, to June 2015.

      20.     The federal government extended the grant by another four years on

August 21, 2015.

      21.     The term of this extension ran from September 1, 2015, to August 31,

2019 at a rate of between $2.3M and $2,499,995 per year.



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      22.    The federal government extended CARD’s grant by another four years

on July 19, 2019.

      23.    These grant funds pay for CARD staff salaries, education and outreach

related to Asbestos Related Disease (“ARD”) and for screening services and

radiographic studies such as chest x-rays and Computed Tomography (CT scans).

      24.    As a condition of these grant monies, CARD has reporting requirements

related to the scope of CARD’s screening program and the expenditure of grant

funds as set forth by federal law. See 45 C.F.R. 74 et seq. (2011).

      25.    In 2011, the Medicare Pilot Program for Asbestos Related Disease

(“Pilot Program”) was created which provides comprehensive care for individuals

diagnosed with a qualified asbestos related condition, including services not

normally covered under Medicare, for residents in Lincoln and Flathead Counties.

42 U.S.C. § 1881A(a)(1) and (b).

      26.    Subsequent to its creation in 2011, individuals enrolled in the Pilot

Program were entitled to Medicare coverage benefits for complete healthcare, not

just asbestos related healthcare.

      27.    These Medicare coverage provisions appear in a special section of the

Affordable Care Act specifically focused on the diagnosis of asbestos related

disease. This provision is titled “Medicare coverage for individuals exposed to

environmental health hazards.” 111 Pub. L. No. 111-148, § 10323, 124 Stat. 119,



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954 (2010) [42 U.S.C. § 1395rr-1]; amending Title XVIII of the Social Security Act

(42 U.S.C. § 1395 et seq.) by inserting 42 U.S.C. § 1881A.

   Requirements for Coverage of Asbestos Related Disease under Medicare

      28.     A qualifying condition for Medicare coverage and other benefits is that

CARD patients must be diagnosed with a host of qualifying impairments related to

asbestos exposure.

      29.     Two of the primary qualifying impairments are “Asbestosis” or

“Pleural thickening/Pleural plaques.” 42 U.S.C. § 1881A(e)(2)(B)(i).

      30.     The diagnosis for “Asbestosis” must be based on the “Interpretation by

a B reader qualified physician of a plain chest x-ray or interpretation of computed

tomographic (“CT”) radiograph of the chest by a qualified physician.” 42 U.S.C. §

1881A(e)(2)(B)(i)(I).

      31.     The diagnosis for “Pleural thickening/Pleural Plaques” must be based

on the same criteria of “Interpretation by a B reader qualified physician of a plain

chest x-ray or interpretation of computed tomographic radiograph of the chest by a

qualified physician.” Id.

      32.     A “qualified physician” under these provisions of the Affordable Care

Act is one who performs radiographic scans and interpretations in conformity with

the accepted medical standards of care and the American Thoracic Society (ATS)

guidelines.



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      33.    A “qualified physician” practicing as a radiologist who interprets chest

x-rays and CT scans must also adhere to the standards of care for radiologists

published by the American College of Radiology (ACR), the National Institute for

Occupational Safety and Health (NIOSH) guidelines and the International Labour

Organization (ILO) guidelines.

      34.    Under Montana law and the medical standards of care in Montana, in

order to be deemed a “qualified physician,” a physician who practices specialized

medicine in a field outside his or her field of specialty must conform to that

specialist’s standards of care.

      35.    Both “Asbestosis” and “Pleural thickening/Pleural plaques” share a

Diagnosis Code of “5010” as recorded by CARD.

      36.    This information is recorded on an “Environmental Health Hazards

Checklist” Form (“EHH”), signed and dated by CARD employees and submitted by

CARD to the federal government to obtain Medicare coverage and other benefits for

individual patients on the basis of exposure to an environmental health hazard

(namely asbestos) pursuant to the Affordable Care Act at 42 U.S.C. §1881A.

      37.    The minimum evidence required for a finding of “Asbestosis” and

“Pleural thickening/Pleural plaques” is not only expressly set forth on the EHH form,

it is also set forth by federal law under the Affordable Care Act. 42 U.S.C. §

1881A(e)(2)(B)(i)(I).



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      38.    CARD has submitted thousands of these EHH forms to the federal

government, certifying thousands of patients for Medicare coverage and other

benefits as having one or both “Asbestosis” and “Pleural thickening/Pleural

plaques.”

      39.    In hundreds of CARD cases, this diagnosis has been based on CARD’s

interpretation of a chest CT scan or x-ray alone, without a supporting radiographic

interpretation from a “B Reader,” Radiologist or Pulmonologist.

       A Novel Lung Condition that No One Else can Detect but CARD

      40.    Dr. Brad Black is CARD’s Chief Executive Officer and Medical

Director. Dr. Black has been with CARD since the clinic’s inception.

      41.    Dr. Black is a pediatrician by specialty.

      42.    Dr. Black is not a pulmonologist.

      43.    Dr. Black is not a radiologist.

      44.    Dr. Black is not a Certified B Reader.

      45.    CARD does not currently regularly employ any of these specialized

practitioners at its facility in Libby, Montana.

      46.    No medical care providers at CARD are certified, licensed or formally

trained as radiologists or formally trained or credentialed in diagnostic radiographic

interpretation.




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       47.   No staff or employees at CARD are certified or formally trained

radiology technicians.

       48.   Furthermore, CARD’s facility has no x-ray or CT scanning equipment

on site.

       49.   Dr. Black, along with others associated with CARD, have devised a

novel diagnosis for asbestos related disease called "Lamellar Pleural Thickening."

       50.   This condition is not commonly recognized by the medical community

and is virtually unheard of – and unused - by anyone other than CARD providers or

"litigation doctors" associated with Libby asbestos.

       51.   Dr. Black and CARD providers claim that this condition is unique to

Libby Asbestos exposure and is not readily apparent to the “untrained” eye on

radiographic studies such as x-rays and computed tomography (“CT scans”).

       52.   Dr. Black claims that signs of asbestos related disease caused by the

Libby amphibole are nonspecific and difficult to detect.

       53.   Dr. Black has asserted that often he alone can perceive signs of asbestos

related disease on CT scan caused by the Libby amphibole, claiming: "What the

mind does not know, the eye does not see."

       54.   “Lamellar Pleural Thickening” has virtually no identifiable diagnostic

criteria according to CARD, only that it appears very much like a thin layer of

subpleural fat in the membrane that lines the lungs.



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      55.      "Lamellar Pleural Thickening" is not a diagnosis listed in the

International Statistical Classification of Diseases and Related Health Problems

("ICD-10"), the ICD-10 Clinical Modification (“ICD-10-CM”), regularly used by

the World Health Organization or Department of Public Health and Human Services,

or validated by the New England Journal of Medicine or any other peer-reviewed

studies.

      56.      CARD routinely uses the diagnosis of "Lamellar Pleural Thickening"

to describe changes Dr. Black claims he observes on CARD patients’ CT scans.

      57.      This condition - seen by none but Dr. Black and other CARD associated

providers - then frequently becomes the basis for CARD's certification on EHH

forms that a patient has an asbestos related disease.

           Diagnostic Dissension between CARD and Outside Radiologists

      58.      There is a significant gap in diagnosis rates between CARD and all

other outside radiologists who read and interpret CARD patient CT scans for signs

of asbestos related disease.

      59.      The phenomenon of "Lamellar Pleural Thickening" explains this

diagnosis gap in part.

      60.      CARD maintains a high diagnosis rate among its patients for asbestos

related disease.




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      61.     CARD reads approximately 64% of its patients’ CT scans as positive

for asbestos related disease based on data from CARD’s own records.

      62.     CARD’s diagnostic rate has remained relatively consistent year to year

and is significantly higher compared to all radiologists who find pulmonary signs

that could be consistent with asbestos related disease in only about 35% of the same

patients.

            CARD’s Disregard of Outside Radiologist’s Interpretations

      63.     As part of its federal grant, CARD receives – and serves as a pass

through - for millions of dollars in federal funds earmarked for referrals for CARD

patients to radiologists who perform and interpret x-rays and CT scans.

      64.     One provision of the grant award language states that all radiologic

exams will be sent for outside reads to a panel of expert B-readers and radiologists

that will be established by CARD and ATSDR.

      65.     The fundamental purpose of these federal grant provisions requiring the

use of a panel of multiple, independent, outside radiologists is to ensure the accuracy

of each diagnosis of asbestos related disease.

      66.     This fundamental purpose was enshrined in the standard screening

protocols developed as part of CARD’s first screening grants. See CARD’s

“Asbestos Screening and Diagnostic Methodology” (September 21, 2009).




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      67.    These screening protocols dictated that CT scans and chest x-rays

should be sent to “outside expert” radiologists who were “neutral” and could

substantiate structural evidence consistent with asbestos induced abnormality.

      68.    These protocols clarified procedures for resolving diagnostic

dissension, stating that “if the diagnosing physician’s opinion differs, then the

opportunity for expert medical panel review will be available for final determination

of medical eligibility.”

      69.    There are three primary categories of radiologists who take x-rays and

CT scans of CARD patients:

      70.    A “local” radiologist - who usually takes a CT scan of CARD patients

at a clinic in or near Libby, Montana and interprets that scan within days of the

patient’s initial visit at CARD;

      71.    An “outside” radiologist - a NIOSH certified thoracic radiologist who

reviews and interprets a mailed copy of the initial CT scan taken by the local

radiologist months after the initial CT scan was taken; and

      72.    A “peer review” radiologist - a NIOSH certified thoracic radiologist

who sits on a panel of similarly qualified radiologists who also reviews and interprets

a mailed copy of the initial CT scan taken by the local radiologist.

      73.    CARD routinely diagnoses patients with ARD before any of these

scans are interpreted by qualified “outside” radiologists.



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      74.    Even in cases in which each of these qualified radiologists’ interpretive

reports unanimously show no findings of asbestos related disease, CARD still stands

by its positive diagnosis of ARD.

      75.    These misdiagnosed patients are then included as “diseased” patients in

CARD’s reports to the federal government.

      76.    By doing so, CARD inflates the clinic’s overall number of “ARD”

patients.

                             CARD’s Master Data Set

      77.    The fact that CARD routinely diagnoses patients without a supporting

outside radiologist’s CT interpretation is well known to CARD and its staff.

      78.    Internal data generated by clinic staff as part of the federal grant

requirement shows that CARD is aware of the results of every outside CT and chest

x-ray interpretation received by CARD.

      79.    Accordingly, CARD is also aware of the stark diagnostic differential

between Dr. Black and all outside CT reading radiologists.

      80.    CARD maintains a “Master Data Set” that records the total number of

patients that have received screening services through the CARD facility.

      81.    These internal records show the extent to which CARD routinely

disregards the findings of local radiologists, outside radiologists, B-readers, and Peer




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Review CT readers who frequently unanimously disagree with CARD's diagnosis of

disease.

      82.    This Master Data Set also disproves misstatements CARD has made to

the federal government.

      83.    In its report to the CDC after the first four years of the grant, CARD

stated that CARD’s CT diagnosis rate for asbestos related disease was “47% versus

a 41% diagnosis rate by outside readers.”

      84.    However, CARD’s own Master Data Set shows that CARD’s diagnosis

rate is much higher than outside radiologists.

      85.    Based on an analysis of this data, CARD obtained over 4,000 CT scans

for its patients as of August 1, 2018.

      86.    Of that number, CARD read approximately 64% of the CT scans as

showing signs of an Asbestos Related Disease.

      87.    By contrast, CARD’s internal data shows that “Outside” CT readers

found lung abnormalities in only approximately 35% of CARD patients’ scans.

      88.    The fact that an “abnormality” exists does not mean that the outside CT

reader has diagnosed the patient with ARD. This merely signifies that the patient’s

CT showed signs that might be “consistent with” ARD.




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      89.    These abnormalities could likewise be “consistent with” other

conditions, such as tobacco use, rib fractures, prior thoracic surgery, radiation

therapy or the use of certain medications.

      90.    A close analysis of other data in CARD’s records shows that CARD’s

actual diagnostic rate may be even higher.

      91.    For example, of the 518 CT scans completed in Year 1 of the first

federal grant period, CARD diagnosed 375 patients with asbestos related disease

according to CARD’s Final Report for Year 1.

      92.    This translates to a positive diagnosis rate of 72% for Asbestos Related

Disease for those patients.

      93.    All 375 of those patients were reported as eligible for Medicare.

      94.    Other figures in CARD’s Master Data set show that CARD’s Medicare

eligibility rate consistently surpasses the rate of patients who show objective signs

of abnormality on either CT or chest x-ray.

      95.    Based on CARD’s Master Data Set, less than half of the patients

diagnosed with asbestos related disease by CARD based on a CT scan showed signs

of disease according to “Outside CT” readers - a fact known to CARD providers.

      96.    As a result, CARD has diagnosed close to one thousand patients with

asbestos related disease and designated them as Medicare eligible when those




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patients showed no signs of any abnormalities on CT scan according to qualified

radiologists.

                CARD’s “Peer Review Panel” of Thoracic Radiologists

      97.       As part of its federal grant requirements, CARD submits CT scans to

the aforementioned “Peer Review” panel of radiologists.

      98.       Since 2010, CARD has submitted over two-hundred CT scans to its

peer review panel that Dr. Black has read as positive for signs of asbestos related

disease.

      99.       But even CARD's hand-picked panel of “expert CT readers"

unanimously disagreed with Dr. Black’s diagnosis of ARD much of the time – more

often than the panel agreed with his positive diagnosis.

      100. Based on CARD’s internal data, even in the dozens of cases in which

all outside peer reviewers unanimously found no signs of asbestos related disease,

CARD still submitted those patients for Medicare coverage and other federal

benefits.

      101. CARD has not provided full disclosure regarding these discrepancies

to its patients or the federal government. Accordingly, hundreds of CARD patients

are living with no knowledge that they have apparently been misdiagnosed with a

lethal disease.

      102.



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                Conditions for Receipt of Federal Grant Awards

      103. Federal grant awards to organizations and individuals are predicated on

true and accurate grant applications and other statements to the federal government.

      104. Receipt of grant awards also involves certain continuing conditions,

responsibilities and obligations: “These responsibilities include accountability both

for the appropriate use of funds awarded and the performance of the grant supported

project or activities as specified in the approved application.” See U.S. Dept. of

Health and Human Services, HHS Grants Policy Statement (January 1, 2007);

https://www.hhs.gov/sites/default/files/grants/grants/policies-

regulations/hhsgps107.pdf

      105. One of the conditions involved in obtaining federal grant funds is to

share true, accurate and complete information with the granting agency. Penalties,

including revocation of the grant, can be imposed if information contained in or

submitted as part of a grant application or other required reports is found to be false,

fictitious or fraudulent. Id. at p. I-7 et seq.; See 45 C.F.R. pt. 74 (2011); See also 45

C.F.R. § 79.3 (2011).

      106. Another condition for keeping and renewing these government grants,

is that CARD must certify that all federal monies used are consistent with the

original grant purpose. 45 C.F.R. § 74.20 et seq. (2011).




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      107. This certification exists in the form of an Annual Progress Report

(APR), a Final Progress Report and a Federal Financial report.

      108. These reports are authored and forwarded by CARD to the Grants

Management Office at the Centers for Disease Control. All expenditures of grant

monies must be consistent with the purpose of the grant itself and specifically

earmarked and recorded as required by the terms of the grant and federal reporting

requirements.

      109. From on or about June 1, 2011, continuing until July 19, 2019, in

CARD’s applications and reports related to grant award numbers U61TS000179;

U61TS000251; NU61TS000251 and NU61TS000295, CARD made material

representations to the federal government about screening procedures, diagnostic

rates, the medical necessity of the expenditure of federal funds and other aspects of

CARD’s screening program that were false, misleading and showed deliberate

ignorance of, or reckless disregard for the truth, to wit:

          a. In CARD’s grant applications, year-end final grant reports, quarterly

             reports and elsewhere, CARD represented to the federal government

             that all CT diagnoses of ARD are supported by an “Outside CT read.”

          b. In CARD’s grant applications, year-end final grant reports, quarterly

             reports and elsewhere, CARD represented to the federal government




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     that CARD patients would be eligible for Medicare through the

     Environmental Health Hazard designation in one of three ways:

           (1) They are eligible through a positive B read of a chest
           x-ray.

           (2) They are eligible through a positive CT read by an
           outside radiologist.

           (3) They are eligible because they have a documented
           diagnosis of an asbestos related cancer.

  c. In CARD’s grant applications, year-end final grant reports, quarterly

     reports and elsewhere, CARD represented that each CARD diagnosis

     was based on an x-ray interpretation by a B reader, or an Outside CT

     read that shows objective signs in the lungs of structural abnormality.

  d. In CARD’s grant applications, year-end final grant reports, quarterly

     reports and elsewhere, CARD represented that “CARD’s diagnosis

     rate is 47% versus a 41% diagnosis rate by outside CT readers…”

     CARD’s grant application and reporting paperwork also states: “it is

     noteworthy that over the course of the prior grant and this grant to

     date, 40% of outside CT scan reads have identified abnormalities and

     most abnormalities were pleural rather than parenchymal.”

  e. In CARD’s grant applications, year-end final grant reports, quarterly

     reports and elsewhere, CARD represented that it submitted 24 patients’

     CT scans for outside Peer Review. CARD stated that 19 of those 24

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     patients showed signs of ARD: “Of the 24 CT’s read by three different

     readers, 19 were read as positive. Of the 19 positives, 11 were read

     positive for asbestos related pleural disease and 8 were read positive for

     asbestos related parenchymal disease.” In truth and fact, a review of

     CARD’s underlying data shows that 12 of the 24 peer-reviewed patients

     had absolutely no positive findings of ARD as determined by the

     unanimous conclusion of all CT readers for either pleural or

     parenchymal ARD. Of the remaining 12 patients, findings by peer

     reviewers indicated equivocal results in most cases and only one peer-

     reviewed patient showed a unanimous finding of signs consistent with

     ARD by all outside CT readers.         These types of half-truths and

     misrepresentations are a hallmark of CARD’s statements in reports to

     the federal government.

  f. In CARD’s grant applications, year-end final grant reports, quarterly

     reports and elsewhere, CARD represented that it follows the standards

     of care promulgated by the American Thoracic Society (“ATS”), which

     requires evidence of structural change visible on radiographic study,

     evidence of plausible causation and the exclusion of alternative

     diagnoses. In truth and fact, as admitted by Dr. Black, CARD’s

     diagnoses are “weighted” with focus primarily placed on exposure



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     history alone, without regard for a lack of objective evidence of

     structural change or exclusion of alternative diagnoses.

  g. In CARD’s grant applications, year-end final grant reports, quarterly

     reports and elsewhere, CARD stated that it “over reads” CT scans of

     outside radiologists, when in truth and fact CARD frequently diagnoses

     ARD and shares that diagnosis with patients before a local radiologist

     has forwarded a CT interpretation to CARD, and prior to “Outside” CT

     reads ever being returned to the facility.

  h. In CARD’s grant applications, year-end final grant reports, quarterly

     reports and elsewhere, CARD stated that it uses an outside CT Peer

     Review Program to ensure reliable diagnoses, when in truth and fact,

     CARD routinely disregards “Peer Review” CT interpretations.

  i. In CARD’s grant applications, year-end final grant reports, quarterly

     reports and elsewhere, CARD states that CARD clinicians follow the

     standards, procedures and protocols of NIOSH quality standards for

     detection of pneumoconiosis, ATS standards and ILO guidelines, when

     in truth and fact, CARD routinely ignores key components of these

     standards and guidelines, to wit: CARD deviates from these standards

     by failing to read CT scans and B reads “blindly.” That is, CARD is

     aware of patient exposure history in each patient at the time Dr. Black



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                and other CARD clinicians perform their own CT interpretations.

                CARD fails to consider outside CT reader interpretations that state no

                finding of abnormalities, even though ILO and ATS standards require

                further evaluation in the face of variability and discrepancy among CT

                reads. CARD’s patient records show that CARD also routinely fails to

                consider alternate diagnoses of abnormal findings on CT’s and chest x-

                rays, even though this is explicitly required by ATS guidelines.

             j. In CARD’s grant applications, year-end final grant reports, quarterly

                reports and elsewhere, CARD states that its screening program

                effectively uses outside radiologists’ scans and interpretations and that

                federal monies spent for such services are medically necessary. In truth

                and fact, as CARD patient medical records, Dr. Black’s deposition

                testimony and CARD’s Master Data Set show, these radiologists’

                interpretations are routinely disregarded by CARD and have no

                diagnostic value.

      110. CARD’s foregoing statements were false, based on misrepresentations,

half-truths, deliberate ignorance of and reckless disregard of the truth.

      111. CARD’s false statements concealed facts related to CARD’s screening

practices.




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      112.   CARD’s false statements also exaggerated the number of patients

suffering from asbestos related disease due to the Libby Amphibole, thus justifying

continued funding of CARD’s federal grants. An exaggerated number of sick

patients might tend to increase the likelihood that the federal government would

continue to issue higher-than-warranted amounts of federal grant funds to study,

screen and treat an inflated number of ARD diagnosed CARD patients.

      113. CARD knowingly published these false and misleading statements in

its grant applications and periodic reports to the CDC and ATSDR in order to

increase its chances of winning and maintaining CARD’s federal grant awards in

amounts totaling approximately $2.4M annually.

      114. Each statement referenced herein, made or forwarded by CARD in

support of payment of federal grant funds constitutes a false claim for payment by

the federal government pursuant to 31 U.S.C. § 3729 as set forth below.

        “Medical Necessity” as a Requirement for Government Funds

      115. Pursuant to policies, procedures and requirements governing federal

grants, all expenditures of grant funds for medical treatment and services must be

“medically necessary.” See 45 C.F.R. 74 et seq. (2011); See also U.S. Dept. of Health

and Human Services, HHS Grants Policy Statement (January 1, 2007);

https://www.hhs.gov/sites/default/files/grants/grants/policies-

regulations/hhsgps107.pdf



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      116. These same federal provisions also require that grant recipients must

take steps to avoid fraud, waste or abuse of government funds and must report any

knowledge of fraud, waste or abuse to the federal government. Id.; 45 C.F.R. § 74.51

et seq. (2011); 45 C.F.R. pt. 74, app. E (2011).

      117. As the recipient of a federal grant award, CARD was placed on a

reimbursement plan called the manual payment method. Under this plan, the CDC

Grants Management Officer (GMO) or Grants Management Specialist (GMS)

monitors and controls all payment advances for the award. In order to receive these

funds, the grantee must submit a Standard Form (SF) 270 Request for Advance or

Reimbursement, a monthly disbursement plan that reflects costs associated with this

award, and any additional documentation to support the request.

      118. All documentation submitted to the government related to the use of

funds must be signed and dated by a CARD representative.

      119. CARD’s funding requests are forwarded to the Centers for Disease

Control and Prevention in Atlanta, Georgia.

      120. By accepting the award, and drawing down funds, the recipient

(CARD) acknowledges acceptance of the terms and conditions of the award and is

obligated to perform in accordance with the requirements of the award.




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          False Claims for Medically Unnecessary Screening Services

      121. CARD submits Screening Invoices to the CDC Procurement and Grants

Office in Atlanta, Georgia for payments from CARD’s federal grant funds

(1U61TS000179-01) for “expert imaging reads” and other services related to CT

scans and chest x-rays.

      122. Based on these invoices, the federal government awards CARD grant

money totaling approximately $500,000 annually to pay for radiographic scans and

interpretations performed by qualified physician radiologists who work at outside

screening facilities.

      123. By routinely diagnosing patients with ARD before an “outside” CT

radiologist’s interpretation is completed or returned, CARD effectively disregards

all radiographic interpretations performed by qualified physicians and renders all

outside CT interpretations moot and medically unnecessary.

      124. “Outside” CT interpretations do not even arrive at CARD until months

after patients have already been diagnosed.

      125. CARD does not consider B-reader chest x-rays for any diagnostic

purpose, nor are B-reads included in patients’ medical charts.

      126. CARD consistently fails to meaningfully inform patients at the time of

their diagnosis that the qualified radiologist who interpreted their CT scan

determined that the patient showed no signs of asbestos related disease.



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      127. Once CARD diagnoses a patient with asbestos related disease, CARD

does not change its diagnosis in the face of further radiographic interpretations from

any “Outside” radiologists or CARD’s Peer-Review panel, even when all

interpretations unanimously confirm the absence of disease.

      128. Over the life of CARD’s federal screening grant, CARD has knowingly

billed the government millions of taxpayer dollars for thousands of medically

unnecessary radiographic studies and interpretations that CARD routinely

disregards. Patient B-reads showing no signs of ARD are not even retained as part

of patient medical records at CARD. CARD’s refusal to consider these radiographic

interpretations prior to diagnosis renders them meaningless for diagnostic purposes.

      129. Billing the federal government for medically unnecessary services

constitutes fraud, waste and abuse, in violation of federal grant requirements. See 45

C.F.R. pt. 74 et seq. (2011).

      130. Pursuant to rules governing federal grants (referenced herein) CARD

itself has an obligation to prevent and report fraud, waste and abuse related to its

own use of any federal grant funds. 45 C.F.R. pt. 74 et seq. (2011).

      131. CARD has not fully informed the federal government – or CARD

patients - of these routine practices related to its screening program.

      132. Each statement referenced herein, made or forwarded by CARD in

support of payment of federal grant funds for unnecessary screening services



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constitutes a false claim for payment by the federal government pursuant to 31

U.S.C. § 3729 as set forth below.

  False Claims for Sub-Award Funds from Mount Sinai School of Medicine

      133. CARD has also received “sub award” grant funding from the Mount

Sinai School of Medicine in New York.

      134. This sub award grant exceeded $300,000 in 2013. (Prime Award No. 5

R01 TS000099-04); (Sub Award No. 0254-5674-4609).

      135. Like the other federal grant awards CARD receives, by drawing down

or otherwise obtaining funds from the grant payment system, the recipient

acknowledges acceptance of the terms and conditions of the award and is obligated

to perform in accordance with the requirements of the award. 45 C.F.R. pt. 74 et seq.

(2011).

      136. By drawing funds, the federal grant Awardee certifies that proper

financial management controls and accounting systems to include personnel policies

and procedures have been established to adequately administer Federal awards and

funds drawn down are being used in accordance with applicable federal cost

principles, regulations and the President’s Budget and Congressional Intent.

      137. As part of the Subaward Agreement, CARD stated that there were no

conflicts of interest or “Significant Financial Interests” that prevented the receipt of

federal grant monies from the Prime Award.



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         138. Mount Sinai and CARD clinicians have long-standing personal and

professional relationships and shared financial motives.

         139. Both institutions profit from the study and treatment of asbestos related

disease.

         140. Dr. Black serves as an adjunct professor at Mount Sinai School of

Medicine.

         141. Dr. Black and Mt. Sinai doctors have co-authored studies on asbestos

related issues in the past.

         142. CARD has periodically employed physicians at CARD sent by Mount

Sinai.

         143. The program director and principal investigator involved in the Mount

Sinai Prime Award was a B Reader physician to whom CARD paid thousands of

dollars annually to perform B Reads of CARD patient’s chest X-rays.

         144. According to Mount Sinai grant sub award documents, Dr. Black and

other CARD staff members were paid a total of $137,112 in salary from Mt. Sinai

sub award funds.

         145. The sub award also awarded CARD $106,808 for “Patient Care Costs.”

         146. That sub-award issued CARD $5,500 for “CT scans only at CARD.”

(Sub Award No. 0254-5674-4609).

         147. CARD has not ever had a CT scanner at its facility.



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      148. By applying for and accepting these funds, CARD certified that it had

no conflicts of interest, that the funds were medically necessary and would be used

in accordance with federal rules and regulations governing federal grants stated

herein.

      149. Each false and misleading statement referenced herein made by CARD

in support of payment of federal grant sub-award funds constitutes a false claim for

payment by the federal government pursuant to 31 U.S.C. § 3729 as set forth below.

                       False Claims for Medicare Payments

      150. In hundreds of cases, CARD knowingly submitted patients for

Medicare coverage based on the unsupported, false and misleading “diagnosis” of

“Asbestosis” or “Pleural thickening Pleural plaques” recorded on EHH forms.

      151. After “diagnosing” patients with an asbestos related disease, CARD

certified that diagnosis on EHH forms and other documents and forwarded same to

the federal government representing that these individual patients carried a Medicare

qualifying diagnosis of asbestos related disease.

      152. In some cases, CARD and Dr. Black appear to have certified patients

for Medicare coverage on EHH forms when no outside X-rays or CT scans were

obtained.




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      153. In hundreds of other cases, CARD and Dr. Black certified patients for

Medicare when outside B readers and Radiologists found no signs of Asbestosis or

Pleural thickening/Pleural plaques on chest x-rays and/or chest CT scans.

      154. In a significant percentage of these cases, CARD and Dr. Black

certified patients for Medicare, despite the fact that CARD’s own panel of Peer

Review Radiologists found no signs of Asbestosis or Pleural thickening/Pleural

plaques on CT scans.

      155. Since 2011, and continuing until the present, as a result of CARD’s

false certifications of an ARD diagnosis, hundreds of CARD patients have received

and continue to receive Medicare benefits even though they do not in truth and fact

have “Asbestosis” and/or “Pleural thickening or Pleural plaques.”

      156. Once enrolled in Medicare, these patients have received ongoing

treatment at CARD and elsewhere that was billed to Medicare directly.

      157. CARD has prescribed medications, oxygen therapy, home assistance

and other treatments and services paid for by federal funds based on a false diagnosis

of asbestos related disease.

      158. Based on this false diagnosis, CARD continued to treat these patients

and to submit, or cause to be submitted, bills to Medicare for medically unnecessary

medications, treatments and services.




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      159. Each statement referenced herein, made, caused to be made, or

forwarded by CARD in support of payment of Medicare funds for medical treatment,

medications and services constitutes a false claim for payment by the federal

government pursuant to 31 U.S.C. § 3729 as set forth below.

    False Claims for Social Security Disability and Pilot Program Benefits

      160. CARD has also assisted patients in obtaining Social Security Disability

benefits and Pilot Program benefits based on the unsupported, false and misleading

“diagnosis” of “Asbestosis” or “Pleural thickening Pleural plaques” recorded on

EHH forms.

      161. After “diagnosing” patients with an asbestos related disease, CARD

assisted patients in making claims for Social Security Disability benefits by

providing, completing and/or transmitting Form SSA-827 and other forms to the

federal government with information certifying that the individual patient carried a

qualifying diagnosis of asbestos related disease.

      162. CARD has likewise assisted CARD patients in obtaining Pilot Program

benefits for services such as housekeeping, lawn maintenance and other forms of

assistance.

      163. In many cases, CARD faxed, mailed or otherwise transmitted these

forms to the federal government on the patient’s behalf within days of rendering an

unsupported diagnosis of ARD.



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      164. As a result of CARD’s false certifications, hundreds of CARD patients

have received and continue to receive Social Security Disability Insurance and Pilot

Program benefits even though they do not in truth and fact have “Asbestosis” and/or

“Pleural thickening or Pleural plaques.”

      165. Each statement referenced herein, made or forwarded by CARD in

support of payment of federal funds for Social Security Disability Benefits, the Pilot

Program, the Federal Libby Asbestos Specialty Healthcare plan (FLASH) or

payment of other federal funds related to disability benefits based on the diagnosis

and treatment of Asbestos Related disease pursuant to the Affordable Care Act at 42

U.S.C. § 1881A constitutes a false claim for payment by the federal government

pursuant to 31 U.S.C. § 3729 as set forth below.

False Claims for Medically Unnecessary Prescriptions of Opioid and Narcotic
                             Pain Medication

      166. Data from the United States Drug Enforcement Agency shows that

more than 245 million prescription pain pills were supplied to Montana from 2006

to 2012.

      167. According to this data, the bulk of these legally prescribed opioids in

Montana was mostly confined to the northwest corridor of the state. See Daily

Interlake: “Data Shows Unusually High Distribution of Painkillers in Northwest

Montana at Height of Crisis.” (August 12, 2019).




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      168. Lincoln County, home to the CARD clinic, showed the highest number

of total pain pills per person for the entire State of Montana during that seven-year

period. Id.

      169. Data from the Centers for Disease Control shows that Lincoln County

continued to experience the highest rates for opioid prescriptions dispensed per 100

residents from 2009 to 2016. Id.

      170. CARD, from its inception in 2003 to the present, through Dr. Black and

others, has prescribed narcotic and opioid pain medications to lung-screening

patients to treat “pleuritic chest pain” and other conditions supposedly related to

asbestos related disease.

      171. These prescription pain medications include scheduled opioid drugs

and narcotic painkillers including Oxycodone, Hydrocodone, OxyContin, Vicodin,

Lortab, Percocet, Tramadol, Codeine, Morphine, Fentanyl and other controlled

substances.

      172. In many cases, CARD’s prescriptions for pain medications were not

medically necessary, as patients receiving scripts did not carry a legitimate diagnosis

of asbestos related disease as defined by the American Thoracic Society, the

standards of care for diagnosis and treatment of ARD, Medicare provisions found at

42 U.S.C. § 1881A, and CARD’s own federal funding requirements.




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      173. CARD knowingly prescribed pain medications in many individual

cases despite CARD’s knowledge that these patients lacked a federally recognized

basis for an ARD diagnosis in that these patients lacked positive signs of disease

on CT scan or B read according to Outside Radiologists.

      174. As a consequence of CARD’s misdiagnosis of ARD and over-

prescription of pain medication, CARD patients have abused opioids in and around

Libby, Montana and elsewhere.

      175. In some of these cases, CARD continued to renew prescriptions for pain

medication even when CARD’s own records noted that patients were exhibiting

drug-seeking behavior, were receiving “double scripts” to obtain pain medications

and did not appear to show any signs of malignant asbestos related disease.

      176. In many of the aforementioned cases, these patients’ prescription pain

medications were paid for by Medicare or some other form of government funding.

      177. CARD’s statements certifying a false ARD diagnosis on EHH forms

and other patient medical records, as well as CARD’s scripts, prescriptions and

orders for drugs that were medically unnecessary based on this false diagnosis, sent

to Medicare either directly or through other medical care providers, constitute false

statements in support of claims for payment of government funds.




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    The Apparent Correlation between Prescription Pain Medication and
                  Disability Status in Libby, Montana

      178. Many of CARD’s patients receiving opioid pain medication are on

disability status due to CARD’s diagnosis of asbestos related disease.

      179. CARD has assisted hundreds of patients to obtain Social Security

Disability Insurance benefits as a result of CARD’s diagnosis of asbestos related

disease.

      180. Lincoln County has one of the highest rates of disabled residents of any

counties in Montana.

      181. According to U.S. Census data compiled by the University of Montana,

Lincoln County – where asbestos disease linked to the W.R. Grace vermiculite mine

is still prevalent – was one of six counties in Montana to have a disability rate

between 19 and 36.9 percent from 2012 to 2017. See Kianna Garner, Data Shows

Unusually High Distribution of Painkillers in Northwest Montana at Height of

Crisis, Daily Interlake (Aug. 12, 2019)

https://www.dailyinterlake.com/local_news/20190812/data_shows_unusually_high

_distribution_of_painkillers_in_nw_montana_at_height_of_crisis.

      182. According to figures published by the United States Census Bureau, the

average disability rate for Montana from 2013 to 2017 was 9.4%. See

https://www.census.gov/quickfacts/fact/table/MT/DIS010217#DIS010217.




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      183. Rising disability rates are associated with increased rates of chronic

pain diagnosis. Id.

      184. Through the aforementioned acts and omissions, hundreds of CARD

patients through the years have been traumatized both by CARD’s false diagnosis

of asbestos related disease, and news that they should consider themselves

permanently disabled.

      185. CARD’s acts and omissions enumerated above not only harmed the

United States, but also caused further harm to an already vulnerable population of

people in Libby, Montana.

                      FALSE CLAIMS ACT COUNTS I-III

      186. BNSF incorporates and re-alleges all of the foregoing allegations

herein.

      187. Since 2011, and continuing until the present, based on the facts alleged

above, each CARD script for prescription pain medication; each false statement

made by CARD to induce the federal government to continue funding CARD’s

federal grants; each CARD bill, claim, application, statement or invoice for grant

money or payment by the federal government for unused, ignored or medically

unnecessary B-reads, CT scans, radiographic interpretations or other medically

unnecessary treatments; each CARD statement to secure Mt. Sinai sub award funds

to pay for CT scans taken at CARD; each CARD script, diagnostic record, EHH



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form or any other statement made by CARD, or caused to be made by CARD, and

made in support of claims for payment by the federal government based on a false

diagnosis of ARD, and submitted directly or indirectly to Medicare, the Centers for

Disease Control, the ATSDR, the Pilot Program, the Social Security Administration

or any other government agent or contractor; and any other unauthorized claims,

false statements, half-truths and acts of concealment referenced above constitute

False Claims for payment by the federal government pursuant to 31 U.S.C. § 3729,

as set forth below.

                                    COUNT I
                            False Claims Act Violations
                             31 U.S.C. § 3729(a)(1)(A)
      188. BNSF incorporates and re-alleges all of the foregoing allegations

herein.

      189. Based upon the acts described above, CARD knowingly presented, or

caused to be presented, false or fraudulent claims for payment or approval to the

federal government.

      190. CARD knowingly made, used, or caused to be made or used, a false

record or statement to get a false or fraudulent claim paid or approved by the

government.

      191. The terms “knowing” and “knowingly” mean that a person with respect

to information has actual knowledge of the information; acts in deliberate ignorance


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of the truth or falsity of the information; or acts in reckless disregard of the truth or

falsity of the information.

         192. The United States, unaware of the falsity of these claims, records, and

statements made by the Defendant, and in reliance on the accuracy thereof, paid

money to the Defendant and/or other individuals for the fraudulent claims.

         193. The United States and the general public have been damaged as a result

of CARD’s violations of the False Claims Act.

                                      COUNT II
                              False Claims Act Violations
                               31 U.S.C. § 3729(a)(1)(B)

         194. BNSF incorporates and re-alleges all of the foregoing allegations

herein.

         195. Based upon the acts described above, CARD knowingly made, used, or

caused to be made or used, a false record or statement material to a false or fraudulent

claim.

         196. The United States, unaware of the falsity of these claims, records, and

statements made by the Defendant, and in reliance on the accuracy thereof, paid

money to the Defendant and/or other individuals for the fraudulent claims.

         197. The United States and the general public have been damaged as a result

of CARD’s violations of the False Claims Act.




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                                    COUNT III
                            False Claims Act Violations
                             31 U.S.C. § 3729(a)(1)(G)

      198. BNSF incorporates and re-alleges all of the foregoing allegations

herein.

      199. CARD knowingly made, used, or caused to be made or used, false

records or statements material to an obligation to pay or transmit money or property

to the government, or knowingly concealed or knowingly and improperly avoided

or decreased an obligation to pay or transmit money or property to the government.

      200. The United States, unaware of the falsity of these claims, records, and

statements made by the Defendant, and in reliance on the accuracy thereof, paid

money to the Defendant and/or other individuals for the fraudulent claims.

      201. The United States and the general public have been damaged as a result

of CARD’s violations of the False Claims Act.

      202. By virtue of the false records or false statements knowingly made, used

or caused to be made or used, CARD is liable to the United States government for a

civil penalty of not less than $5,000 and not more than $10,000, as adjusted by the

Federal Civil Penalties Inflation Adjustment Act of 1990, plus 3 times the amount

of damages which the government sustains because of the acts of Defendant.




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                              PRAYER FOR RELIEF

      1.      For the reasons set forth above, BNSF, on behalf of the United

States, respectfully requests this Court to find that CARD has damaged the United

States government as a result of its conduct under the False Claims Act. BNSF prays

that judgment be entered against Defendant for all applicable damages, including

but not limited to the following:

           a. Actual damages in an amount equal to the costs paid by the

              government as a result of CARD’s False Claims.

           b. Civil Penalties in an amount of three times the actual damages suffered

              by the government.

           c. Imposition of monetary penalties, including penalties up to $10,0000

              for each individual false claim violation, as allowed under the False

              Claims Act. 31 U.S.C. § 3729 et seq.

           d. BNSF seeks a fair and reasonable amount of any award for its

              contribution to the government’s investigation and recovery pursuant

              to 31 U.S.C. §§ 3730(b) and (d) of the False Claims Act.

           e. Attorney’s fees and costs awarded to BNSF.

           f. Pre-judgment and post judgment interest.

           g. All other relief on behalf of the BNSF and/or United States government

              to which they may be entitled at law or equity.



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DATED this 18th day of February, 2021.


                       KNIGHT NICASTRO MACKAY, LLC


                        By: /s/ W. Adam Duerk
                             W. Adam Duerk
                        Attorneys for Realtor BNSF Railway Company




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                          CERTIFICATE OF SERVICE

       I, the undersigned, an employee of the law firm of Knight Nicastro MacKay,

LLC hereby certify that I served a true and complete copy of the foregoing on the

following persons by the following means:

1, 2    CM/ECF
        Hand Delivery
        Mail
        Overnight Delivery Service
        Fax
        E-Mail

   1. Clerk, U.S. District Court

   2. Michael Kakuk
      Assistant U.S. Attorney
      U.S. Attorney’s Office
      P.O. Box 8329
      105 E. Pine, 2nd Floor
      Missoula, MT 59802
      Michael.kakuk@usdoj.gov



                                   By: /s/ W. Adam Duerk
                                       W. Adam Duerk




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